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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                            November 07, 2023
                                              SOUTHERN DISTRICT OF Nathan
                                                                   TEXAS  Ochsner, Clerk
 UNITED STATES DISTRICT COURT
                                                  HOUSTON DIVISION


TREYVION GRAY,                            §
                                          §
              Plaintiff(s),               §
                                          §
v.                                        §
                                                        No. 4:22-cv-01245
                                          §
NEEDVILLE INDEPENDENT                     §
SCHOOL DISTRICT                           §
                                          §
              Defendant(s).               §

                              ORDER OF DISMISSAL

                                                                              67 is
        IT IS ORDERED that Plaintiff Treyvion Gray’s Motion to Dismiss (Doc. ___)

GRANTED. It is further

        ORDERED that Gray’s claim(s) against Defendant Needville Independent School

District are DISMISSED.



Date:       11/7/2023
                                                       George CC. Hanks
                                                                  Hanks, JrJr.
                                                    United States District Judge
